                                 Pines Bach LLP
                              122 West Washinglon Avenue
                                       Suite 900
                                  Madison, WI 53703
                                        (608) 251-0101
                                      Fax (608) 251-2883
                                    Tax ID No. 39- 1342651


MichaelA Mills                                                                     May 1 ,2019
740 Silver Oak Grove                                                        lnvoice No. 197402
Colorado Springs, CO 80906



CLIENT     14514 - Michael A. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                   Professional Services

Date       Atty    Services                                              Hours        Amount
04t09t19   LAP     Telephone conference with Atty Mitby re: local         0.90         450.00
                   counsel representation; Email from Attorney
                   Milansinic with complaint; Review complaint

04t11t19   LAP     Skype conference with client and Attorney Mitby          0.60       300.00

04t22t19   LAP     Review email re: magistrate; Respond                     0.10         50.00

04t24t19   LAP     Review comflaint; Reviewing and revising motion to       2.50      1,250.00
                   dismiss; Review cases and Rule 12; Emails re: same;
                   Telephone conferences with Atty Anderson; Emailto
                   Adam & Steve; Telephone conference with Adam;
                   Telephone conference with Steve; Draft notice of
                   appearance; Review consent to magistrate form;
                   Conference with HB re: filing notice and consent
                   forms and need to file motion today

04t24t19   LAP     Review and do redline motion to dismiss; Emails   with   4.40      2,200.00
                   Steve and Adam re: need for more extensive
                   revisions and possibility of extension of time;
                   Telephone conference with Atty Anderson re: same;
                   Emails re: no extension and completing motion;
                   Telephone conference with Steve; Telephone call
                   from Atty Anderson agreeing to extension; Draft
                   notice of appearance; Draft motion for extension of
                   time; Telephone conference with Steve Mitby; Review
                   new draft of motion to dismiss and begin edits

04126119   LAP     Final draft of Motion to Dismiss                          0.40       200.00




                                                                                    EXHIBIT B
Client   Ref:   14514 - 0000                                                         May 1 ,2019
lnvoice No. 197402                                                                       Page 2

                                      Professional Services

Date       Atty      Services                                                Hours       Amount
04t27119   LAP       Edit and revise memorandum of law in support of          7.20      3,600.00
                     motion to dismiss complaint, including reviewing
                     certain cases cited to ensure accuracy; Revise
                     motion to dismiss; Review and revise client's
                     declaration; Draft and revise email re: same

04t30t19   LAP       Further revisions to memorandum in support of            2.20      1   ,100.00
                     motion to dismiss; Emails with client; Telephone
                     conference with Adam re: his declaration.
                     Conference with BWP re: proofreading and citation
                     check.

04130119   BWP       Conference with LAP re: motion to dismiss final edits    0.20           45.00

04t30t19   BWP       Review/Produce re: motion to dismiss final edits         3.20          720.00

04t30119   LAP       Review BWP edits; Further edits to motion,               1.50          750.00
                     memorandum and Mills declaration; Emails re: same


                                      Summary of Services
Atty                                                            Rate         Hours       Amount
LAP        Lester Pines                                       500.00         19.80       9,900.00
BWP        Beauregard W. Patterson                            225.00          3.40         765.00
Total for Services                                                           23.20    $10,665.00

                                  Totalfor Services and Expenses                      $10,665.00


lnvoice History for this Matter
                                                      Year to Date                   Case to Date
Services Billed to Date                                 10,665.00                      10,665.00
Expenses Billed to Date                                       0.00                             0.00
Total Billed to Date                                    10,665.00                       10,665.00

Payment History for this Matter
                                                                YTD                  Case to Date
Services Payments to Date                                       0.00                         0.00
Expenses Payments to Date                                       0.00                         0.00
Total Payments to Date                                          0.00                         0.00
                                Pines Bach LLP
                             I22 W     Washington Avenue
                                     est
                                        Suite 900
                                   Madison, WI 53703
                                        (608) 2sl-0101
                                      Fax (608) 251-2883
                                    Tax ID No. XX-XXXXXXX


MichaelA Mills                                                                   May 31 ,2019
740 Silver Oak Grove                                                       lnvoice No. 198097
Colorado Springs, CO 80906



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                   Professional Services

Date       Atty    Services                                                Hours         Amount
05t01119   LAP     Further revisions to motion to dismiss and                 1.20        600.00
                   memorandum in support

05t01t19   LAP     Telephone conference with clients re; settlement           0.80        400.00
                   agreement and court approval process

05t22t19   LAP     Brief review of amended complaint; Email re: same          0.40        200.00

05t24t19   LAP     Detailed review of amended complaint; Emails to            1   .10     550.00
                   client and Attys Mitby and Milisincic

05t28119 LAP       Review motion to dismiss; notes for changes; Skype         1.20        600.00
                   conference with client and Atty Milansinic; Telephone
                   conference with Atty Modl

05/30/19   LAP     Telephone conference with Atty Mitby re: scheduling        0.30         150.00
                   order

o5t31t19   LAP     Review revised Rule 26(f) report; Emailto Atty    Modl's   0.20         100.00
                   assistant re: same


                                   Summary of Services
Atty                                                          Rate         Hours         Amount
LAP        Lester Pines                                     500.00          5.20         2,600.00
Total for Services                                                            5.20      $2,600.00
Client   Ref:   14514 - 0000                                                       May   31   ,2019
lnvoice No. {98097                                                                        Page 2

Applications Since Last lnvoice

           Prior Past Due Balance On This Matter                      10,665.00

           Date           Description                TotalApplied to this Matter
           05113119       APPlied lo 197402                           10,665.00
                Less Total Applications                             $10,665.00

                                  Totalfor Services and Expenses                     $2,600.00


lnvoice History for this Matter
                                                     Year to Date                  Case to Date
Services Billed to Date                                13,265.00                      13,265.00
Expenses Billed to Date                                      0.00                          0.00
Total Billed to Date                                   13,265.00                      13,265.00

Payment History for this Matter
                                                            YTD                    Case to Date
Services Payments to Date                              10,665.00                      10,665.00
Expenses Payments to Date                                    0.00                              0.00
Total Payments to Date                                 '10,665.00                     10,665.00
                                    Pines Bach LLP
                                 122 W est Washington Avenue
                                           Suite 900
                                     Madison, WI 53703
                                           (608) 2s1-0101
                                         Fax (608) 25t-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                                             June 30, 2019
740 Silver Oak Grove                                                            lnvoice No. 198683
Colorado Springs, CO 80906



CLIENT:       14514 - MichaelA. Mills
Re:           0000 Civil Litigation - WDWI Case No 19-CV-158

                                       Professional Services

Date          Atty    Services                                                  Hours           Amount
06/03/1   I   LAP     Edits to motion; and memorandum                            0.50            250.00

06t04t19      LAP     Review and revise motion to dismiss amended                1   .10          550.00
                      complaint; memorandum in support and declarations
                      of AM. Email to HB re: proofing filing; Final review of
                      documents before filing

06t04t19      LAP     Email re: footnote 10 and safe harbor letter               0.10              50.00

06t04119      LAP     Email to Attorney Mitby re: edited version of brief        0.10              50.00

06104119      LAP     Review and respond to emails re: facts to support          0.50             250.00
                      footnote 10 to the memorandum; Skype conference
                      with client

06t13119 LAP          Review motion for extension of time to respond to          0.50             250.00
                      motion to dismiss; Review discovery demands.

06t24119      LAF     T/C with client; confer with LAP; review file              0.80             180.00

06t26119      GGB     Scan and email plaintiffs' discovery requests to client    0.20               0.00

06t27t19      GGB     Review emails and documents; response emails;'             1.00             150.00
                      scan and email correct documents to client; open and
                      profile documents from client; conference with LF

06127119      LAP     Emailto client re: discovery                               0.10              50.00
Client   Ref:    14514 - 0000                                                              June 30, 2019
lnvoice No. 198683                                                                               Page 2

                                      Professional Services

Date       Atty      Services                                                Hours              Amount
06127119   LAP       Conference with client re: discovery; Conference with       1   .10          550.00
                     GGB and LAF re: responses to discovery and Rule
                     11 issues

06t27t19 GGB         Skype conference with client and attorneys to     discuss   1.20             180.00
                     responses to discovery requests

06t27t19   LAF       Phone call with client; confer with LAP & GB re             1.20             270.00
                     discovery requests

06127119   LAF       Review jurisdictional discovery requests, MTD               0.50             112.50



                                      Summary of Services
Atty                                                            Rate         Hours              Amount
LAP        Lester Pines                                       500.00          4.00              2,000.00
GGB        Genny Gibbs Benesh                                   0.00          0.20                   0.00
GGB        Genny Gibbs Benesh                                 150.00          2.20                330.00
LAF        Leslie A. Freehill                                 225.00          2.50                562.50
Total for Services                                                               8.90          $2,892.50

                                  Total for Services and Expenses                          ___$?,8ruq
                                                Past Due Balance                               $2,600.00

                                                      Amount Due                               $5.492.50


lnvoice History for this Matter
                                                      Year to Date                          Case to Date
Services Billed to Date                                 1 6,157.50                             16,157.50
Expenses Billed to Date                                       0.00                                   0.00
Total Billed to Date                                    16,157.50                              16,'t 57.50

Payment History for this Matter
                                                               YTD                          Case to Date
Services Payments to Date                                 10,665.00                            10,665.00
Expenses Payments to Date                                      0.00                                  0.00
Total Payments to Date                                    10,665.00                            10,665.00
                                  Pines Bach LLP
                               122 W est Washington Avenue
                                         Suite 900
                                   Madison, WI 53703
                                         (608) 2sl-0101
                                       Fax (608) 251-2883
                                     Tax ID No. 39- 1342651


MichaelA Mills                                                                     August 1,2019
740 Silver Oak Grove                                                          lnvoice No. 199270
Colorado Springs, CO 80906



CLIENT      14514 - MichaelA. Mills
Re:         0000 Civil Litigation - WDWI Case No 19-CV-158

                                     Professional Services

Date        Atty    Services                                                  Hours     Amount
07 t01119   GGB     Read Daily Beast article about the litigation involving    0.20          30.00
                    the Fearless Girl statue

07t02t19 GGB        Conference with attorney; organize documents               0.50          75.00
                    received from client

07t02t19    LAF     Draft responses to discovery; confer with GGB re           4.20         945.00
                    RPDs; emails to/from client

07t03t19    GGB     Review draft responses to interrogatories                  0.30          45.00

07t03119    LAF     Phone callwith client                                      0.50         112.50

47t03t19    LAF     Revisions to interrogatories; RPDs; confer with GB         0.50         112.50

07t03t19    GGB     Conference with attorney re: document production;          3.20         480.00
                    organize documents and amend written responses;
                    email to client; telephone conference with client;
                    amend written responses

07t03119    LAF     Phone callwith client                                      1.20         270.00

07 t08t19   GGB     Review emails from client; organize documents in           0.50          75.00
                    client directory

07t08119 LAP         Emails and responses re: deposition and                   0.40         200.00
                    jurisdictional issues

07t08119 LAP        Revisions to answers to interrogatories and requests       2.20     1   ,100.00
                    to produce; Telephone conference with client
Client   Ref:     14514 - 0000                                                     August 1,2019
lnvoice No. 199270                                                                        Page 2

                                       Professional Services

Date        Atty      Services                                                 Hours    Amount
07t08t19    LAP       Conference callwith Mickey and Steve                      0.70      350.00

07t08t19    LAF       Responses to discovery; initial disclosures               2.00      450.00

07t09t19    GGB       Review emails between attorneys; conference with          0.40       60.00
                      LAP; organize additional discovery documents
                      received from client; emailto client and Atty Mitby re
                      draft discovery responses

07t09t19 GGB          Upload responsive discovery documents to                  1.00        0.00
                      Workshare; finalize responses to discovery requests
                      and obtain attorney's signature; scan and email
                      documents to opposing counsel

07t09119 LAF          Emails from client; revisions to RPDs and                 1.80      405.00
                      interrogatories; confer with LAP (2x)

07t09119 LAP          Conference with LAF re: interrogatory answers and         0.50      250.00
                      request responses

07t10t19    LAF       Emailto client                                            0.10       22.50

07 t10t19   BWP       Review re: case-law motion to quash harassing             2.90      652.50
                      depositions distance

07t11119 BWP          Review re: case-law cited by Bou-Matic, burden of         5.70    1,282.50
                      proof on diversity jurisdiction, standards for proving
                      citizenship

07t12t19 BWP          Produce re: letter responding to Bou-Matic and            4.10      922.50
                      requesting meet and confer

07t12119 BWP          Review re: case-law on discovery                          2.60      585.00
                      h arassme nt/an noyan ce/o ppressio n



07t15t19    LAP       Revising letter to Attorney Lessner re; discovery;        2.50     1,250.00
                      Email with Adam & Steve; Telephone conference with
                      Adam

07t15t19    LAP       Telephone conference with Adam; Emailfrom Mickey          0.40      200.00

07t15t19 BWP          Review re: final draft of meet and confer letter          0.40       90.00
Client   Ref:     14514 - 0000                                                       August 1,2019
lnvoice No. 199270                                                                          Page 3

                                       Professional Services

Date           Atty   Services                                                  Hours     Amount
07 t16119      BWP    Review re: case-law staying non-jurisdictional             1.80       405.00
                      discovery pending dispositive motions

07   t17 t19   LAP    Draft and revise Motion for Protective Order               0.40       200.00

07   t17 t19   BWP    Produce re: protective order staying non-jurisdiction      6.20     1,395.00
                      discovery until after motion to dismiss is decided

07t18t19       BWP    Conference with LAP; Review re: Bou-Matic's motion         1.70       382.50
                      to compel

07t18t19       LAP    Conference with BWP re: Motion to Compel and               1.20       600.00
                      responses

07t19t19 BWP          Review re: plaintiffs motion to compel, affidavit, and     1.60       360.00
                      exhibits

07t22t19 BWP          Produce re: Pines affidavit and final edits to brief in    2.10       472.50
                      support of motion for protective order

07t22t19 TBP          Emails with co-counsel, client; telephone callwith         4.30     1,397.50
                      Lester; review file; review and revise draft Pines
                      Declaration, motion for protective order and brief in
                      support.

07t23119       BWP    Review re: final draft of motion for protective order      0.40        90.00

07t23t19       TBP    Telephone callwith LAP; telephone callwith Steve;          0.80       260.00
                      email to team; finalize filing requesting protective
                      order.

07t24119 LAP          Reviewing documents in preparation for revising            0.40       200.00
                      memo in opposition to motion to compel

07t24t19 TBP          Communications re status of Mitby's draft brief             0.60      195.00
                      responding to motion to comPel.

07t25t19       LAP    Draft Brief in Response to Motion to Compel                 3.20     1,600.00

07125119       TBP    Review and revise draft response to motion to               4.90     1,592.50
                      compel, legal research, conference with Lester;
                      exchange emails with Mitby.
Client   Ref:   14514 - 0000                                                    August 1,2019
lnvoice No. 199270                                                                     Page 4

                                      Professional Services

Date        Atty     Services                                             Hours          Amount
07t25t19    BWP      Review re: case-law on document possession             1.40          315.00


                                      Summary of Services
Atty                                                            Rate      Hours          Amount
LAP        Lester Pines                                       500.00       11.90        5,950.00
TBP        Tamara Packard                                     325.00       10.60        3,445.00
GGB        Genny Gibbs Benesh                                   0.00        1.00            0.00
GGB        Genny Gibbs Benesh                                 150.00        5.10          765.00
BWP        Beauregard W. Patterson                            225.00       30.90        6,952.50
LAF        Leslie A. Freehill                                 225.00       10.30        2,317.50
Total for Services                                                         69.80      $19,430.00

Applications Since Last lnvoice

           Prior Past Due Balance On This Matter                        5,492.50

           Date           Description                 TotalApplied to this Matter
           07125t19       Applied to 198097, 198683                     5,492.50
                Less Total Applications                                $5,492.50

                                  Total for Services and Expenses                   ___$1e,f94q

lnvoice History for this Matter
                                                      Year to Date                   Case to Date
Services Billed to Date                                 35,587.50                      35,587.50
Expenses Billed to Date                                       0.00                           0.00
Total Billed to Date                                    35,587.50                      35,587.50

Payment History for this Matter
                                                             YTD                     Case to Date
Services Payments to Date                               16,157.50                      16,157.50
Expenses Payments to Date                                    0.00                             0.00
Total Payments to Date                                  16,157.50                       16,1 57.50
                                    Pines Bach LLP
                                 122 W est Washington Avenue
                                           Suite 900
                                     Madison, WI 53703
                                           (608)   2sl-0lol
                                         Fax (608) 251-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                                  September 1,2019
740 Silver Oak Grove                                                           lnvoice No. 199737
Colorado Springs, CO 80906



CLIENT        14514 - MichaelA. Mills
Re:           0000 Civil Litigation - WDWI Case No 19-CV-158

                                      Professional Services

Date          Atty    Services                                                 Hours     Amount
08t07t19      BWP     Appear for/attend motion hearing on protective order      1.60       360.00
                      and motion to compel; Conference with LAP and
                      Steve Mitby re: strategy meeting

08t07119 LAP          Skype call with client; Telephone conference with Atty    1.60       800.00
                      Mitby; Telephonic hearing with Magistrate Crocker

08/09i   19   LAP     Conference with client re: discovery and next steps;      1.20       600.00
                      Conference with BP re: document review

08t09119 BWP          Conference with LAP and client re: discovery,             1.30       292.50
                      deposition, and next steps; Conference with LAP re:
                      interrogatories and document review

08t12t19 GGB          Review emails between LAP and client re:   responses      0.10        15.00
                      to plaintiffs discovery requests

08112119      GGB     Review documents and judge's order in preparation         0.70       105.00
                      for meeting with attorney; meet with attorney; emailto
                      client

08t12t19 GGB          Review and organize documents received from     client;   3'00       450.00
                      telephone conference with client

08t12119      LAF     Review client emails re discovery                         0.40        90.00

08t12119      LAF     Confer with LAP re litigation strategy                    0.30        67.50

08t12119      LAP     Conference with LAF re: strategy                          0.30       150.00
Client   Ref: 14514 - 0000                                                   September 1,2019
lnvoice No. 199737                                                                     Page 2

                                   Professional Services

Date       Atty   Services                                                  Hours    Amount
08t13119   GGB    Download and organize discovery documents from             4.50      675.00
                  client; telephone conference with client; search online
                  for vehicle registration documents; telephone
                  conference with Texas DMV; email to client; review
                  emails between client and LAP; conference with LAP
                  re: status of document production

OBl14119   GGB Organize discovery documents;   emails to client; draft       5.00      750.00
                  responses to amended response to request to
                  produce

08t15t19 GGB      Download, organize and redact discovery documents;         6.80    1,020.00
                  telephone conference and emails with client;
                  conferences with attorney; revise answers to
                  interrogatories

08t15t19   LAP    Conference with client re: revisions to interrogatory      0.70      350.00
                  answers.

08t16t19 GGB      Organize and redact discovery documents;                   3.70      555.00
                  conferences with LAP

08116119   LAP    Revise interrogatory no. 3; emailto client re: same        0.50      250.00

08t19119   GGB    Organize and redact discovery documents; telephone         6.70     1,005.00
                  conference and emails with client; conferences with
                  attorney; upload documents to Workshare; review
                  and revise responses

08t19t19   LAP    Telephone conference with client re: response to           0.40      200.00
                  interrogatories and request to produce and
                  deposition/l itigation strategy

08t20t19 GGB      Organize additional discovery documents; review            0.20        30.00
                  emailfrom client

08t20t19   LAP    Additional revisions to supplemental response to           0.70      350.00
                  document production request; Telephone call to Atty
                  Mitby re: thumb drive

08t20t19 GGB      Organize additional discovery documents;                    1.40     210.00
                  conferences with LAP; finalize responses to
                  discovery requests; letter to Atty Luther; email to
                  plaintiffs' counsel, etc.
Client   Ref:   14514 - 0000                                                  September 1,2019
lnvoice No. 199737                                                                          Page 3

                                      Professional Services

Date       Atty      Services                                                Hours         Amount
08t21119   LAP       Email re: thumb drive                                    0.10            50.00

08t21119 BWP         Conference with LAP and client re: deposition            0.40            90.00
                     strategy and litigation strategY

08t21t19   LAP       Conference with client & BWP re: strategy                0.40           200.00

08t23t19   LAP       Numerous telephone calls re: hard drive,                 0.70           350.00
                     postponement of deposition

o8t26t19   LAP       Draft and revise emailto client re: potential lawsuit    1.00           500.00
                     against        firm

08t26119   LAP       Letter to Modl re: hard drive                            0.30           150.00

08t27t19   LAP       Conference with client re: jurisdictional deposition      1.00          500.00
                     and merits discovery

08t28119 LAP         Post-deposition telephone conference; Review             0.70           350.00
                     newpapaer article; Review pleadings to begin
                     non-jurisd ictional discovery a

08t28119   LAP       Review emails from client and Atty' Mitby;   Reply       0.10            50.00


                                      Summary of Services
Atty                                                             Rate        Hours         Amount
LAP        Lester Pines                                        500.00         9.70         4,850.00
GGB        Genny Gibbs Benesh                                  150.00         32.10        4,815.00
BWP        Beauregard W. Patterson                             225.00          3.30          742.50
LAF        Leslie A. Freehill                                  225.00          0.70          157.50
Total for Services                                                           45.80       $10,565.00

                                 Total for Services and Expenses                      ___$l_q!99.00

                                                     Past Due Balance                    $19,430.00

                                                         Amount Due                   ___$29,995-00.
Client   Ref:   14514 - 0000                     September 1,2019
lnvoice No. 199737                                         Page 4

lnvoice History for this Matter
                                  Year to Date        Case to Date
Services Billed to Date             46,152.50            46,152.50
Expenses Billed to Date                   0.00                0.00
Total Billed to Date                46,152.50            46,152.50

Payment History for this Matter
                                         YTD          Case to Date
Services Payments to Date           16,157.50           16,157.50
Expenses Payments to Date                0.00                 0.00
Total Payments to Date              16,157.50           16,157.50
                                    Pines Bach LLP
                                 122 W est Washington Avenue
                                           Suite 900
                                     Madison, WI 53703
                                           (608) 2sl-0101
                                         Fax (608) 25t-2883
                                       Tax ID No. 39- 1 34265 I


MichaelA Mills                                                                     October 1,2019
8564 Forum Drive                                                               lnvoice No. 200718
Houston, TX 77055



CLIENT        14514 - MichaelA. Mills
Re:           0000 Civil Litigation - WDWI Case No 19-CV-158

                                      Professional Services

Date          Atty    Services                                                 Hours     Amount
09t04t19      LAP     Review insurance policy;Email to client; Conference       0.80       400.00
                      with COW and JK re: being on trial team

09t04t19      BWP     Conference with LAP re: deposition preparations           0.10        22.50

09104119      BWP     Conference with LAP re: statement of facts; Review        1.50       337.50
                      re: CFAA statute, causes of action, and elements for
                      proof chart

09/05/19      JJK     Review Amended Complaint.                                 0.60       189.00

09i05/1 9     BWP     Produce re: proof chart                                   0.50       112.50

09/06/1   I   BWP     Produce re: outline of statement of facts for reply       1.10       247.50
                      brief

09/09/1 I     LAF     Confer with LAP re MTD reply brief                        0.30        67.50

09/09/1 I     BWP     Review re: computer fraud and abuse act case-law          2.70       607.50
                      for proof chart (particularly discussing liability)

09/09/19      LAP     Skype conference with client; Brief read of response      1.30       650.00
                      brief on motion to dismiss; Conference with LAF re:
                      computer crimes section of brief; Conference with
                      BWP re: diversity section of brief

09/09/19      BWP     Review re: plaintiffs' response brief in opposition to     1.60      360.00
                      motion to dismiss, declaration in support, an exhibits
Client   Ref:     14514 - 0000                                                  October 1,2019
lnvoice No. 200718                                                                      Page 2

                                       Professional Services

Date           Atty   Services                                              Hours     Amount
09/1 0/1 9     GGB    Review emailfrom attorney; upload documents to         0.50        75.00
                      workshare folder; emailto client; telephone
                      conferences with client; review emailwith attorney

09t10t19 BWP          Review re: the multiple causes of action in CFAA       0.60       135.00
                      statute

09/1 0/1   I   LAF    Confer with LAP, BP re reply brief                     1.50       337.50

09t10119       LAF    Research and draft reply brief                         4.50     1,012.50

09t10t19       BWP    Confer with LAP and LAF re: draft reply brief          1.50       337.50

09/1 0/1   I   BWP    Review re: 7th circuit and wisconsin district court    2.20       495.00
                      case-law on CFAA definition of loss

09t10t19       BWP    Review re: Mills deposition transcript                  1.80      405.00

09t10t19       LAP    Ccinference with LAF & BWP re: reply brief              1.50      750.00

09t11119       LAF    Research and draft brief                               4.70     1,057.50

09t11119       LAF    Confer with LAP re: Mitby affidavit                    0.20        45.00

09111119       BWP    Produce re: draft diversity jurisdiction section        5.80    1,305.00

09t11119       LAF    Research and draft brief; draft Mitby affidavit         2.20      495.00

09t11119       LAP    Conference with LAF re: Mitby affidavit                 0.20      100.00

09t12119       cow    Review pleadings; mtg with LAP, JJK.                    1.20      372.00

09t12119       LAP    Emailto Atty Gassman-Pines at Greene Espel re:          0.60      300.00
                      potential co-counsel relationship on case

09t12t19       LAF    Draft reply; confer with BP; confer with LAP re         4.80     1,080.00
                      strategy; emails to Mills and MitbY

09t12119 JJK           lnteroffice case strategy conference.                  1.00      315.00
Client   Ref:     14514 - 0000                                                     October 1,2019
lnvoice No. 200718                                                                         Page 3

                                       Professional Services

Date           Atty   Services                                                 Hours     Amount
09t12t19       BWP    Produce re: finish diversity jurisdiction argument;       9.20     2,070.00
                      Confer with LAF re: affidavits and 12(b)(6) claims;
                      Confer with LAP and LAF re: reply brief; BWP
                      propose additional CFAA argument

09t12t19       LAP    Conference with LAF re: strategy                          0.40       200.00

09t13t19 BWP          Produce re: 12(bX6) arguments and insufficiency of        4.40       990.00
                      CFAA claim

09t13t19 BWP          Email Mitby; Call with client and Mitby re: LAF's         0.50       112.50
                      remaining questions for Mitby affidavit

09t13t19 BWP          Produce re: edits to facts in supplementaljurisdiction    0.70       157.50
                      section to align with Mitby affidavit

09t13119       BWP    Review re: record and case citation check                 1.50       337.50

09t14119       BWP    Produce re: finish 12(bXO) arguments; Produce re          2.80       630.00
                      final edits to brief

09t15t19       cow    Review, edit reply brief                                  2.20       682.00

09/1 6/1   I   COW    Conf with LAP re: reply brief                             0.10        31.00

09/1 6/1 9     LAP    Telephone conference with Mickey & Steve re: brief        0.80       400.00
                      and interrogatories

09/1 6/1 I     LAP    Telephone conference with Steve Mitby re: brief           0.30       150.00

09/1 6/1 I     BWP    Confer with LAP re: reply brief, section being worked     0.40        90.00
                      on by Mitby, and upcoming depositions

09t16t19       LAP    Conference with BWP re: rePly brief                        0.40      200.00

09117119       LAP    Telephone conference with Atty Mitby re: reply brief       1.80      900.00
                      on motion to dismiss; Finalize brief; Draft notices of
                      deposition

09t17t19       LAP    Final revisions to brief                                   0.50      250.00

09t17119       GGB    Conferences regarding access to client's external          0.10       15.00
                      hard drive; contact Atty Modl
Client   Ref:     14514 - 0000                                                      October 1,2019
lnvoice No.200718                                                                           Page 4

                                      Professional Services

Date           Atty   Services                                                  Hours     Amount
09t17119       BWP    Produce re: proof chart; Confer with LAP re                1.90       427.50
                      preparing depositions

09t17t19       BWP    Review re: final read through and edits; HKB file brief    0.60       135.00

09t18t19       LAP    Email to COW re: finalversion of brief; Review email       0.10        50.00
                      from Mickey re: Paget

09/1 8/1   I   BWP    Produce re: finish proof chart and send to LAP             0.80       180.00

09t19t19       LAP    Conference with GGB re: discovery and depositions;         2.30     1,150.00
                      Telephone call to Thermastore counsel subpoenas;
                      Review emails and attachments sent by Mickey; Draft
                      notices of deposition and subpoenas

09t19t19 GGB          Conference with LAP; Locate addresses for                  0.50        75.00
                      witnesses; email to client re: witness addresses;
                      review responses; fonrvard information to attorney

09t20t19 GGB          Review emails from client; emails to Atty Mitby and        0.20        30.00
                      LAP

09t20t19 GGB          Search for witness address; telephone conference           0.80       120.00
                      with opposing counsel's office

09t23t19 GGB          Telephone conference with Atty Modl's office re:           0.10        15.00
                      external drive cable

09r23t19       LAP    Conference with GGB re: notices of deposition and          0.30       150.00
                      subpoenas for depositions and re: new downloaded
                      documents from client and discovery responses

09t23t19 GGB          Conference with LAP re: deposition; Prepare notices        4.50       675.00
                      and subpoenas; calculate witness fees and mileage;
                      contact process server and letter to process server;
                      email to Atty Mitby

09t24t19 VDM          Conference with LP; review & organization of email         0.20        30.00
                      documents

09t24t19 GGB          Locate and contact process server in Houston; letter        0.70      105.00
                      to process server; Revise notice of deposition for
                      Kotts; Conference with LAP; emails to HB
Client   Ref:    14514 - 0000                                                       October 1,2019
lnvoice No. 200718                                                                         Page 5

                                       Professional Services

Date          Atty    Services                                                  Hours     Amount
09t24t19      GGB     Pick up external drive cable at opposing counsel's         2.10       315.00
                      office; Meetings with lT re: downloading documents;
                      Schedule court reporter for Madison depositions;
                      Case reference manual; Emailto LAP re: contents of
                      external hard drive

09t25119      LAP     Submit ProfessionalLiabilityClaim-1   1   01   006654      0.30       150.00

09t25119      GGB     Review and respond to emailfrom client re:                 0.10        15.00
                      deposition dates

09t25t19      LAP     Emails re: depositions and preparation for them            0.10        50.00

09t25t19      GGB     Arrange for court reporter and for service of              3.50       525.00
                      documents; Telephone conferences with client;
                      Revise notices of deposition and subpoenas; Letter
                      to opposing counsel; letter to witness

09t27t19      GGB     Email to client re: responses to discovery requests        0.10        15.00

09t27t19      GGB     Emails and telephone conference with client to             1.20       180.00
                      discuss answers to plaintiffs' discovery requests;
                      conferences with legal assistant and attorney

09t27t19 GGB          Review and profile affidavits of service for Madison       0.10        15.00
                      deponents

09t27t19      BWP     Consult GGB re: Mills interrogatories                      0.40        90.00

09/30/1   I   GGB     Prepare draft responses to plaintiffs' discovery            1.00      150.00
                      requests for attorney's review

09/30/19      GGB     Review and profile affidavit of service for J.    Paget    0.10        15.00

09/30/1   I   BWP     Emails from   client                                        0.60      135.00


                                        Summary of Services
Atty                                                                   Rate     Hours      Amount
LAP           Lester Pines                                           500.00      11.70    5,850.00
GGB           Genny Gibbs Benesh                                     150.00      15.60    2,340.00
VDM           Vicki MacDonald                                        150.00       0.20       30.00
BWP           Beauregard W. Patterson                                225.00      43.20    9,720.00
cow           Christa O. Westerberg                                  310.00       3.50    1,085.00
Client   Ref:   14514 - 0000                                                  October 1,2019
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                                      Summary of Services
Atty                                                          Rate        Hours        Amount
JJK         Joshua J. Kindkeppel                            315.00          1.60         504.00
LAF         Leslie A. Freehill                              225.00         18.20       4 095.00
Total for Services                                                        94.00 $23,624.00
                                            Expenses

Date        Expenses                                                                   Amount
09t23t19    Witness Fees Statutory witness fee and mileage (including $5 parking          68.20
            ramp fee) - Dallas Widing
09t23t19    Witness Fees Statutory witness fee and mileage (including $5 parking          68.20
            ramp fee) - Jerry Thain
09t23t19    Witness Fees Statutory witness fee and mileage (including $5 parking          51.50
            ramp fee) - David Stockwell
09t23119    Witness Fees Statutory witness fee and mileage (including $5 parking          51.50
            ramp fee) - Todd DeMonte
09t24t't9   Witness Fees Statutory witness fee and mileage - Jared Paget                  69.00
09t24119    Service Processor fees - AG Civil Process                                     60.00
09t25t19    Witness Fees Statutory witness fee - Ben Kern                                 40.00
09t25119    Witness Fees Statutory witness fee and mileage - Lisa Mills                   44.64
09t25t19    Service Processor fees - Uptown lnvestigations                               125.00
09t27119    Service Processor fees Dallas Widing, Jerry Thain, David Stockwell           180.00
            (Therma-Stor) & Todd Demonte (President, Therma-Stor) - Dane
            County Civil Process, LLC
09t27119    Misc. expense External hard drive - Cardmember Service                        63.29
Total Expenses                                                                          $821.33

                                  Total for Services and Expenses                  ___w,445-1
                                                Past Due Balance                     $29,995.00

                                                       Amount Due                    $54,440.33


lnvoice History for this Matter
                                                       Year to Date                 Case to Date
Services Billed to Date                                  69,776.50                    69,776.50
Expenses Billed to Date                                      821.33                       821.33
Total Billed to Date                                     70,597.83                    70,597.83
Client   Ref:   14514 - 0000                   October 1,2019
lnvoice No.200718                                      Page 7

Payment History for this Matter
                                        YTD      Case to Date
Services Payments to Date         16,157.50         16,1 57.50
Expenses Payments to Date               0.00             0.00
Total Payments to Date            16,1 57.50        16,157.50
                                       Pines Bach LLP
                                   I22 W est Washington Avenue
                                              Suite 900
                                         Madison, WI 53703
                                              (608) 251-0101
                                            Fax (608) 251-2883
                                          Tax ID No. XX-XXXXXXX


MichaelA Mills                                                                       November 1,2019
8564 Forum Drive                                                                   lnvoice No. 200877
Houston, TX 77055



CLIENT           14514 - MichaelA. Mills
Re:              0000 Civil Litigation - WDWI Case No 19-CV-158

                                         Professional Services

Date             Atty    Services                                                  Hours     Amount
10102119         GGB     Conference with LAP; emailto attorneys re:                 0.20        30.00
                         deposition schedule

10102119 LAP             Telephone conference with Steve Mitby re                   0.30       150.00
                         depositions

10t02119         GGB     Redact discovery documents                                 0.30        45.00

10t02t19         LAP     Review emails from Lessner; Response to Mickey             0.40       200.00
                         and Steve

10to3t19 LAP             Skype conference with client re: depositions and           1.00       500.00
                         strategy

10t04119         BWP     Emails from client                                         0.20        45.00

1   0/06/1   I   LAP     Response to clients email re: Stockwell & Demonte          0.20       100.00

10t07t19         GGB     Review and respond to email re: Stockwell deposition       0.10        15.00

10t07t19         LAP     Emailfrom Mickey re: DeMonte; Respond                      0.10        50.00

10t07t19         GGB     Conference with LAP; proof and edit answers to             0.70       105.00
                         interrogatories; email document to client for signature

10t07t19 GGB             Telephone conference with process server re: status        0.10        15.00
                         of Lisa Mills subpoena

10/08/19 GGB             Review emails from client; revise interrogatory            0.50        75.00
                         answers; search for previous draft
Client   Ref:   14514 - 0000                                                   November 1,2019
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                                     Professional Services

Date       Atty      Services                                                Hours       Amount
10/08/19   GGB       Conference with LAP re: revisions to answers to           1   .10    165.00
                     interrogatories; revise answers to interrogatories;
                     email document to client for signature; finalize
                     response to request for documents for attorney's
                     signature; telephone conference with client; revise
                     answers to interrogatories

10t08119   LAP       Skype conference with client re: depositions              1.00       500.00

10/08/19   LAP       Conference with GGB re: revisions to interrogatory        0.30       150.00
                     answers; Review and edit response to request for
                     production

10i08/19   LAP       Review emailfrom Attorney Sosnay; Conference       with   0'30       150.00
                     AGD re: elements of settlement proposal

10t08119 LAP         Letter to Lessner                                         0.20       100.00

10i08/19    LAP      Review emailfrom Lessner re: subpoena to Butler           0.10        50.00
                     Consulting; Emailto Mickey re: same

1Ol1Ol19   GGB Review and profile affidavit of service re: Lisa Mills          0.10        15.00

10t11119   LAP                                                                 0.20       100.00
10111119   GGB       Review emails; conference with LAP; contact Jerry         0.30        45.00
                     Thain re: deposition; emailto client

10t11119 BWP         Emails from client                                        0.30        67.50

10t11119 LAP         Review Section I motion for protective order and to       0,30       150.00
                     quash deposition; Review brief in support; Emails re;
                     same; Telephone callto Attorney Lessner

10t14119 GGB         Review Section I Motion for protective order and          0.30        45.00
                     attorney's email; cancel court reporters.

10t14119    GGB      Review emailfrom Atty Lessner re: proposed                0.10        15.00
                     deposition dates

10t14t19    LAP      Telephone calls with Atty Lessner & emails re:            0.40       200.00
                     scheduling of depositions
Client   Ref:    14514 - 0000                                                   November 1,2019
lnvoice No. 200877                                                                       Page 3

                                     Professional Services

Date       Atry      Services                                                 Hours     Amount
10t16t19   GGB       Conference with LAP re: status of rescheduling            0.10       15.00
                     depositions

10t16119   JCL       Print hot docs for review                                 0.30      120.00

10t16t19   LAP       Telephone conference with plaintiffs' cousnel;            1.20      600.00
                     Telephone callto Paget's counsel; Skype conference
                     with client; Conference with AGD re: brief in response
                     to motion for protective order

10t17119 LAP         Conference with AGD re; issues on brief in response       1.30      650.00
                     to motion for protective order; Emails re: noticing
                     depositions

10t17t19 GGB         Prepare Amended Notices of Deposition and                 0.80      120.00
                     transmittal letter

10t17t19   LAP       Telephone conference with Atty Zylslra re: Thain          0.40      200.00
                     deposition; Emailwith client re: Kotts depositon.

10t17t19 AGD         Confer w/LAP re: case BG/motion for protective            0.90      202.50
                     order/brief. Review same.

10t17t19 AGD         Research/draft response br. to motion for protective      2.30      517.50
                     order.

10t18t19 GGB         Prepare amended notices of deposition and     cover       0.50       75.00
                     letter; scan and email Jerry Thain Amended Notice of
                     Deposition to opposing counsel

10t18t19 JCL         Review case file, review key pleadings in   preparation   2-50     1,000.00
                     for depositions

10t18t19   AGD       Prep motion for protective order response brief.          5.80     1,305.00

10t18119   AGD       Email LAP re: motion for protective order response        0.30       67.50
                     brief.

10t21t19 GGB         Review emails from attorneys; conference with             0.20        30.00
                     attorney; review emails re: court reporter preference

10t21t19    LAP      Conference with JL re: depositions; Telephone              0.40     200.00
                     conference with Atty. Zylslra re: Thain
Client   Ref:    14514 - 0000                                                 November 1,2019
lnvoice No. 200877                                                                     Page 4

                                      Professional Services

Date       Atty      Services                                               Hours      Amount
10t21t19   GGB       Review emails; finalize Amended Notices of              0.70       105.00
                     Deposition; draft transmittal letter; scan and email
                     documents to opposing counsel; schedule court
                     reporters

10t21119   JCL       Confer w/LAP re deposition strategy                     1.00       400.00

10t21119   LAP       Conference with JL re: preparation for depositions;     0.60       300.00
                     Emailto client re: same; Conference with Attorney
                     Lavorato re: scheduling depositions

10t21t19   AGD       Email exchange w/HB re: motion hearing.                 0.10        22.50

10t22t19   GGB       Conference with LAP; resend deposition notices to       0.10        15.00
                     Atty Lavorato

10t22t19 JCL         Review Reply brief, skype conference w/client, LP       2.50      1,000.00
                     and BP

10122119   GGB Print documents received from client; conference with         0.80       120.00
                     attorney

10t22119   JCL       Skype conference                                        0.50       200.00

10t22t19   BWP       Conference with Client re: depositions; Conference      1   .10    247.50
                     with LAP and JCL re: depositions

10t22119 LAP         Conference callwith client and JL re: Stockewell an     1.70       850.00
                     DeMonte depositions

10t22119 LAP         Conference with JL re: issues in Stockwell and          0.50       250.00
                     DeMonte depositions

10t23t19 GGB         Print and organize documents and emails received        2.00       300.00
                     from client

10t23t19 GGB         Review and respond to email re: client's notarized      0.10         15.00
                     signature on discovery responses; prepare document

10t23t19   GGB       Print documents for depositions                         0.30         45.00

10t23t19   AGD       Email exchange w/Lessner re: motion hearing call.        0.20        45.00
Client Ref: 14514 - 0000                                                    November 1,2019
lnvoice No. 200877                                                                   Page 5

                                  Professional Services

Date       Atty   Services                                                Hours     Amount
10t23t19   LAP    Telephone conference with Therma-Stor general            0.30      150.00
                  counsel; Conference with JCL re: same; Email to JL
                  re; same

10t23119   AGD    Confer w/LAP re: depos/motion hearing                    0.30       67.50

10t23t19   AGD    Confer w/JCL re: motion hearing/depos.                   0.10       22.50

10t23t19   AGD    Confer w/HMM re: hearing conference call set-up.         0.20       45.00

10t23119   BWP    Plan and prepare for re: Stockwell, Demonte, and         4.20      945.00
                  Thain depositions; Review re: emails produced by
                  client for depositions

10t23119   AGD    Review discovery requests/email LAP re: same.            0.10       22.50

10t23t19   AGD    Email exchange w/Lessner re: discovery response          0.10       22.50
                  issues.

10t23t19   LAP    Conference with AGD re: deposition and Hearing on        0.30      150.00
                  Motions

10t24t19   AGD    Email client/Mitby re: motion conference scheduling      0.10       22.50

10124119   BWP    Plan and prepare for re: Stockwell, Demonte, and         7.30     1,642.50
                  Thain depositions; Review re: emails produced by
                  client for depositions

10t24t19 GGB      Print and organize emails for attorneys' review prior    6.20      930.00
                  to depositions

10r24t19 AGD      Email exchanges wilessner re:conf. call setup            0.20       45.00
                  Conferw/HMM re: same.

10t24t19   AGD    Email exchange wiMitby re: motion hearing.               0.10       22.50

10t25119   GGB    Organize emails for attorneys; conference with           1.50      225.00
                  attorney; prepare deposition exhibits

10t25t19   BWP    Plan and prepare for re: Stockwell, Demonte, and         4.50     1,012.50
                  Thain depositions; Review re: emails produced by
                  client for depositions
Client   Ref:    14514 - 0000                                                   November    1   ,2019
lnvoice No.200877                                                                           Page 6

                                      Professional Services

Date       Atty      Services                                                 Hours        Amount
10t25119   JCL       Telephonic hearing, conference w/AD, conference           4.00    1,600.00
                     w/GGB re information from client, conference w/BP
                     re emails, telephone conference w/counsel for
                     Demonte and Stockwell

10t25t19 AGD         Email exchange w/Mitby x2 re'. protective order           0.20             45.00
                     issues.

10t25119   AGD       Motion hearing call.                                      0.50             112.50

10t25t19   AGD       Confer w/JCL re: motion hearing/next steps.               0.40              90.00

10t25119   AGD       Email staff re: bill of costs submission.                 0.30              67.50

10t25t19   AGD       Motion hearing prep.                                      0.70             157.50

10t26119   JCL       Review information from client, outline depo              4.00        1,600.00

10t27119   BWP       Plan and prepare for re: Stockwell and Demonte            2.10             472.50
                     depositions

10t27t19   GGB       Assist attorneys with deposition exhibits                 1.00             150.00

10t27t19   JCL       Conference w/client, prepare for deposition               7.10        2,840.00

10t28119   GGB       Review and save emails and documents from client          0.30              45.00

10t28119   BWP       Appear for/attend re: Stockwell Deposition                2.80             630.00

10t28119   BWP       Appear for/attend re: Todd Demonte deposition;            4.60        1,035.00
                     Conference with JCL and client re: strategy for Thain
                     deposition

10t28119   GGB       Conference with attorney re: depositions                  0.30              45.00

10t28119   JCL       Prepare for depositions, deposition of Stockwell,         8.00        3,200.00
                     deposition of Demonte, conference w/client

10128119   BWP       Call with Ben Kern re: declaration; Confer with client    0.60             135.00
                     re: Kern declaration

10128119   AGD       Review client/co-counsel emails                           0.20              45.00
Client   Ref: 14514 - 0000                                                    November 1,2019
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                                   Professional Services

Date       Atty   Services                                                  Hours     Amount
10t29t19   TBP    Conference with JCL re depo strategy                       0.20       65.00

10129119   AGD    Email Mitby re: sanctions bill                             0.10       22.50

10t29t19   AGD    Email exchange w/GGB/Mitby re: costs for sanctions.        0.10       22.50

10t29t19   AGD    TC w/GGB re: itemized costs billfor sanctions              0.10       22.50

10t29119   AGD    TC w/Mitby office re: itemized costs billfor sanctions.    0.10       22.50

10t29t19   GGB    ldentifiT related fees and costs for sanctions;            0.80      120.00
                  conferences with attorney

10t29119   AGD    TC w/GGB re: sanctions items.                              0.10       22.50

10t29t19   GGB    Prepare deposition exhibits; conference with attorney;     0.50       75.00
                  notify opposing counsel and court reporter of
                  deposition location change

10t29t19   JCL    Telephone conference with Atty Zylslra                     0.40      160.00

10t29t19   JCL    Deposition preparation, identify exhibits, telephone       6.50     2,600.00
                  conference w/Atty Mitby, conference w/client, email
                  counsel re dismissal and cancellation of Thain
                  depositon

10t29119 BWP      Produce re: draft protective order for highly              1.70      382.50
                  confidential materials i.e. trade secrets

10t29t19 BWP      Produce re: Kern declaration; Callwith Kern re:            4.90      808.50
                  declaration; Produce re: edits to Kern declaration;
                  Confer with client re: outline and strategy for Thain
                  deposition

10t29t19   BWP    Review re: Bou-Matic financial statements + client         2.10      472.50
                  docs and prepare exihibits

10t30t19 JCL      Review emailfrom Atty Powell re confidentiality,           0.30       120.00
                  respond
Client   Ref: 14514 - 0000                                                     November 1,2019
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                                     Professional Services

Date       Atty      Services                                                Hours      Amount
10t30t19   GGB       Review emails and notice of voluntary dismissal;         4.30       645.00
                     conferences with attorneys; draft itemized statement
                     of costs and expenses and supporting affidavit; email
                     to Atty Mitby

10t30119   JCL       Communicate w/counsel, prepare costs                     2.80      1,120.00

10t30119   AGD       Prep motion/bill for costs. Confer w/GGB re: same.       0.60       135.00

10t30t19   AGD       Confer wiJCL re: case status/next steps.                 0.50        112.50

10t31119   GGB       Review emailfrom client; edit itemized billing           0.50         75.00
                     statement per attorney's instructions

10t31t19 BWP         Emailfrom client; Produce re: edit to Kern depo;         0.30         67.50
                     Confer GGB

10131t19   GGB       Conference with attorney; finalize declaration; email    0.20         30.00
                     to Ben Kern for signature


                                     Summary of Services
Atty                                                           Rate          Hours      Amount
LAP        Lester Pines'                                     500.00          11.50      5,750.00
JCL        Jordan Loeb                                       400.00          39.90     15,960.00
TBP        Tamara Packard                                    325.00           0.20         65.00
GGB        Genny Gibbs Benesh                                150.00          25.00      3,750.00
BWP        Beauregard W. Patterson                           165.00           4.90        808.50
AGD        Aaron Dumas                                       225.00           14.70     3,307.50
BWP        Beauregard W. Patterson                           225.00          31.80      7,155.00
Total for Services                                                           128.00   $36,796.00

                                            Expenses

Date      Expenses                                                                      Amount
10t21119 Document delivery 9124119 - Civil Process - FedEx                                 45.22
10121119 Document delivery 9125119 - Uptown lnvestigations/New Orleans, LA -               45.22
          FedEx
10t31119 lnterest thru 10/31/19                                                           299.95
Total Expenses                                                                           $390.39
Client   Ref:   14514 - 0000                                        November 1,2019
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                                  Totalfor Services and Expenses       ___$37$6.!q
                                               Past Due Balance           $54,440.33

                                                    Amount Due         ___$91,029-72

lnvoice History for this Matter
                                                     Year to Date       Case to Date
Services Billed to Date                               106,572.50         106,572.50
Expenses Billed to Date                                 1,211.72            1,211.72
Total Billed to Date                                  107,784.22          107,784.22

Payment History for this Matter
                                                            YTD         Case to Date
Services Payments to Date                              16,157.50           16,1 57.50
Expenses Payments to Date                                   0.00                 0.00
Total Payments to Date                                 16,157.50           16,1 57.50
                                  Pines Bach LLP
                               122 W est Washington Avenue
                                         Suite 900
                                    Madison, WI 53703
                                           (608) 251-0101
                                         Fax (608) 251-2883
                                     Tax ID No. 39- 134265    I



MichaelA Mills                                                                  December 1,2019
8564 Forum Drive                                                              lnvoice No. 201374
Houston, TX 77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                     Professional Services

Date       Atty     Services                                                  Hours     Amount
11t01119   GGB      Revise itemized statement of costs and expenses            0.90       135.00
                    and supporting declaration; email to Atty Mitby;
                    conferences with legal assistant; finalize exhibits and
                    upload to client directory; telephone conference with
                    Atty Mitby

11t01119   JCL      Conference w/COW and JK re next steps                      0.40       160.00

11t01t19   AGD      Review/edit bill for motion. Confer w/HMM/Mitby re:        1.60       360.00
                    motion for fees issues.

11t04t19   JCL      Conference wiAD re motion for costs                        0.40       160.00

11104119   JCL      Review correspondence from client                          0.20        80.00

11t04119   JCL      Review emailfrom LAP re sanctions                          0.20        80.00

11104119   BWP      Emails from client                                         0.20        45.00

11t04119   AGD      Confer w/JCL re: sanctions                                 0.20        45.00

11105119   AGD      Research/email LAP/JCL re: sanctions motion issue          1.80       405.00
                    Email LAP re: motion filings.

11t06t19 GGB        Conference with HM re: Atty Mitby's itemized               0.10        15.00
                    statement of costs and expenses submission

11106119   JCL      Review memo re sanctions, respond to AD                    0.40       160.00
Client   Ref:     14514 - 0000                                                December 1,2019
lnvoice No.201374                                                                      Page 2

                                      Professional Services

Date        Atty      Services                                              Hours     Amount
11t06t19    AGD       Research/confer w/JCL re: 26(9) sanctions and time     0.60      135.00
                      limits.

11t07 t19   JCL       Respond to AD                                          0.20       80.00

11t12119    AGD       Review court order re: sanctions. Email exchange x3    1.20      270.00
                      w/ LAP/JCL re: same. Obtain/review transcript re:
                      same.

11t12119    JCL       Review Order, respond to AD and LAP                    0.30      120.00

11t13t19    LAP       Conference with JL re: status of case                  0.20      100.00

11t14t19    AGD       Research/prep R26 sanctions motion.                    1.60      360.00

11t26t19    LAP       Telephone conference with Atty Anderson; Email to      0.40      200.00
                      client re: same

11126119    LAP       Skype confernce with Mickey                            0.30       150.00


                                      Summary of Services
Atty                                                            Rate        Hours     Amount
LAP         Lester Pines                                      500.00         0.90       450.00
JCL         Jordan Loeb                                       400.00         2.10       840.00
GGB         Genny Gibbs Benesh                                150.00         1.00       150.00
BWP         Beauregard W. Patterson                           225.00         0.20        45.00
AGD         Aaron Dumas                                       225.00         7.00     1,575.00
Total for Services                                                           11.20   $3,060.00

                                            Expenses

Date        Expenses                                                                  Amount
11t13t19    Court Reporter Fees 10125119 Hearing * Lynette Swenon                        17.10
11t15t19    Court Reporter Fees 10128119 -David Stockwell & Todd DeMonte - For          590.75
            the Record
11t30t19    lnterest thru 1 1/30/19                                                     883.27
Total Expenses                                                                       $1,491.12
Client   Ref:   14514 - 0000                                                  December 1,2019
lnvoice No. 201374                                                                        Page 3

Applications Since Last lnvoice

           Prior Past Due Balance On This Matter                       91,626.72

           Date      Description               TotalApplied         to this Matter
           11t26t19 Axley Brynelson - Court Ordere                       3,000.00
              Less TotalApplications                                   $3,000.00

                                  Total for Services and ExPenses                      $4,551.',12

                                                Past Due Balance                      $88,626.72

                                                     Amount Due                       $93.177.84


lnvoice History for this Matter
                                                     Year to Date                    Case to Date
Services Billed to Date                               109,632.50                      109,632.50
Expenses Billed to Date                                 2,702.84                         2,702.84
Total Billed to Date                                  112,335,34                       112,335.34

Payment History for this Matter
                                                             YTD                     Case to Date
Services Payments to Date                               19,157.50                       19,157.50
Expenses Payments to Date                                    0.00                            0.00
Total Payments to Date                                  19,157.50                       19,157.50
                                  Pines Bach LLP
                              122 W est Washington Avenue
                                        Suite 900
                                  Madison, WI 53703
                                        (608) 2s1-0101
                                      Fax (608) 251-2883
                                    Tax ID No. XX-XXXXXXX


MichaelA Mills                                                             January 1,2020
8564 Forum Drive                                                       lnvoice No. 201804
Houston, TX77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                   Professional Services

Date       Atty    Services                                            Hours       Amount
12t03119   LAP     Compose and revised draft settlement letter to       0.90         450.00
                   Anderson

12t03119   LAP     Skype conference with Mickey                         0.20         100.00

12t09t19   LAP     Review emails from Mickey; Revise draft letter to    0.40         200.00
                   Attorney Anderson


                                   Summary of Services
Atty                                                          Rate     Hours        Amount
LAP        Lester Pines                                     500.00      1.50         750.00
Total for Services                                                      1.50        $750.00

                                         Expenses

Date      Expenses                                                                  Amount
12131119 lnterest lhru 12131119                                                      919.95
Total Expenses                                                                      $el9.95

                              Totalfor Services and Expenses                   ___$1,99e.9q
                                              Past Due Balance                   $93,177.84

                                                    Amount Due                   $94.847.79
Client   Ref:   14514 - 0000                     January 1,2020
lnvoice No.201804                                        Page 2

lnvoice History for this Matter
                                  Year to Date     Case to Date
Services Billed to Date                 750.00      110,382.50
Expenses Billed to Date                 919.95         3,622.79
Total Billed to Date                 1,669.95       114,005.29

Payment History for this Matter
                                         YTD       Case to Date
Services Payments to Date                 0.00       19,157.50
Expenses Payments to Date                 0.00             0.00
Total Payments to Date                    0.00        19,157.50
                                    Pines Bach LLP
                                122 W est Washington Avenue
                                          Suite 900
                                    Madison, WI 53703
                                            (608) 2sl-0101
                                          Fax (608) 251-2883
                                        Tax IDNo.XX-XXXXXXX


MichaelA Mills                                                                 February 1,2020
8564 Forum Drive                                                            lnvoice No. 202218
Houston, TX77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                        Professional Services

Date       Atty      Services                                                Hours    Amount
01t02t20   GGB       Review  emails re: Ben  Kern's declaration; send  Ben    0.10       15.00
                     Kern's signed declaration to client via emails; save in
                     client directory

01t02t20   BWP       Emails from/to Mills; Emails from/to Kern; Consult      0.50       112.50
                     GGB re: Kern declaration

01t04t20   LAP       Skype conference with Mickey; Email to Steve Mitby      0.40       200.00
                     re: motion for reconsideration and attorneys fees
                     claim to professional liability carrier.

01122120   LAP       Revise letter to Hanover                                 1.50      750.00

01t22t20   LAP       Emailfrom HB re; revision to letter; Revise letter      0.10        50.00

01t24t20   LAP       Review invoice; Email to Mickey for consent to send     0.10        50.00
                     to Hanover


                                        Summary of Services
Atty                                                              Rate     Hours      Amount
LAP        Lester Pines                                         500.00      2.10      1,050.00
GGB        Genny Gibbs Benesh                                   150.00       0.1 0       15.00
BWP        Beauregard W. Patterson                              225.00        0.50      112.50
Total for Services                                                            2.70   $1,177.50

                                              Expenses

Date      Expenses                                                                    Amount
01131120 lnterest thru 01131120                                                         927.45
Total Expenses                                                                         $927.45
Client Ref: 14514 - 0000                                            February 1,2020
lnvoice No. 202218                                                           Page 2


                                  Totalfor Services and Expenses          $2,104.95

                                               Past Due Balance          $94,847.79

                                                    Amount Due           $96.952.74

lnvoice History for this Matter
                                                     Year to Date      Case to Date
Services Billed to Date                                 1,927.50        111,560.00
Expenses Billed to Date                                 1,847.40          4,550.24
Total Billed to Date                                    3,774.90        116,110.24

Payment History for this Matter
                                                            YTD        Case to Date
Services Payments to Date                                   0.00          19,157.50
Expenses Payments to Date                                   0.00               0.00
Total Payments to Date                                      0.00          19,157.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                           (608) 2s l-0101
                                         Fax (608) 251-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                              March 1,2020
8564 Forum Drive                                                      lnvoice No. 203615
Houston, TX 77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No '19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
02129120 lnterest lhru 02129120                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and Expenses               $939.22

                                                 Past Due Balance             $96,952.74

                                                       Amount Due             $97.891.96


lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50           111,560.00
Expenses Billed to Date                                   2,786.62              5,489.46
Total Billed to Date                                      4,714.12            117,049.46

Payment History for this Matter
                                                               YTD          Case to Date
Services Payments to Date                                      0.00           19,157.50
Expenses Payments to Date                                      0.00                  0.00
Total Payments to Date                                         0.00            19,1 57.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 251-0101
                                        Fax (608) 25r-2883
                                       Tax ID No. 39- 1342651


MichaelA Mills                                                                April 1,2020
8564 Forum Drive                                                       lnvoice No.204347
Houston, TX 77055



CLIENT:    14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                                Amount
03131120 lnterest thru 03/31/20                                                    939.22
Total Expenses                                                                    $e39.22

                                  Total for Services and Expenses           ____$93e.22
                                                 Past Due Balance              $97,891.96

                                                       Amount Due              $98,831.18


lnvoice History for this Matter
                                                        Year to Date         Case to Date
Services Billed to Date                                    1,927.50           1 11,560.00

Expenses Billed to Date                                    3,725.84              6,428.68
Total Billed to Date                                       5,653.34           1 17,988.68



Payment History for this Matter
                                                                YTD           Case to Date
Services Payments to Date.                                      0.00             19,157.50
Expenses Payments to Date                                       0.00                  0.00
Total Payments to Date                                          0.00             19,1 57.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 2sl-0101
                                         Fax (608) 251-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                               May 1,2020
8564 Forum Drive                                                      lnvoice No. 204783
Houston, TX 77055



CLIENT:    14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
04130120 lnterest thru 04130120                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and ExPenses               $939.22

                                                 Past Due Balance             $98,831.18

                                                       Amount Due          _$gg-770,4q

lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50           111,560.00
Expenses Billed to Date                                   4,665.06              7,367.90
Total Billed to Date                                      6,592.56            118,927.90

Payment History for this Matter
                                                               YTD          Case to Date
Services Payments to Date                                      0.00            19,1 57.50
Expenses Payments to Date                                      0.00                 0.00
Total Payments to Date                                         0.00            19,157.50
                                    Pines Bach LLP
                                  122 West Washington Avenue
                                           Suite 900
                                      Madison, WI 53703
                                          (608) 2s1-0101
                                        Fax (608) 251-2883
                                      Tax ID No. 39- 1342651


MichaelA Mills                                                                    June 1 ,2020
8564 Forum Drive                                                           lnvoice No. 205475
Houston, fX77055



CLIENT:    14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                                    Amount
05131120 lnterest thru 05/31/20                                                        939.22
Total Expenses                                                                        $93e.22

                                  Total for Services and Expenses               ____$999.22
                                                Past Due Balance                   $99,770.40

                                                       Amount Due               _ll_00J09-€2

lnvoice History for this Matter
                                                       Year to Date              Case to Date
Services Billed to Date                                   1,927.50                1 11,560.00

Expenses Billed to Date                                   5,604.28                   8,307.12
Total Billed to Date                                         7   ,531.78           119,867.12

Payment History for this Matter
                                                                   YTD           Case to Date
Services Payments to Date                                          0.00             19,157.50
Expenses Payments to Date                                          0.00                  0.00
Total Payments to Date                                             0.00             19,157.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 2s1-olol
                                         Fax (608) 251-2883
                                       Tax ID No. 39- 1 34265 I


MichaelA Mills                                                                   July 1, 2020
8564 Forum Drive                                                         lnvoice No. 205742
Houston, TX 77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                             Expenses

Date      Expenses                                                                  Amount
06130120 lnterest thru 06/30/20                                                       939.22
Total Expenses                                                                       $939.22

                                  Total for Services and ExPenses                    $939.22

                                                  Past Due Balance               $100,709.62

                                                        Amount Due            _g_q!-648-E4

lnvoice History for this Matter
                                                         Year to Date           Case to Date
Services Billed to Date                                     1,927.50             1 11,560.00

Expenses Billed to Date                                     6,543.50                9,246.34
Total Billed to Date                                        8,471.00             120,806.34

Payment History for this Matter
                                                                  YTD           Case to Date
Services Payments to Date                                         0.00             19,157.50
Expenses Payments to Date                                         0.00                   0.00
Total Payments to Date                                            0.00             19,1 57.50
                                    Pines Bach LLP
                                  I22 W est Washington Avenue
                                           Suite 900
                                      Madison, WI 53703
                                          (608) 2s1-0lol
                                         Fax (608) 251-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                             August 1,2020
8564 Forum Drive                                                      lnvoice No. 206562
Houston, TX 77055

PAST DUE . TOTAL AMOUNT DUE UPON RECEIPT


CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
07131120 lnterest thru 06/30/20                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and Expenses          ____$9!9.22
                                                 Past Due Balance            $101,648.84

                                                       Amount Due            $102.588.06


lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50           1 11,560.00

Expenses Billed to Date                                   7,482.72             10,1 85.56

Total Billed to Date                                      9,410,22           121,745.56

Payment History for this Matter
                                                               YTD          Case to Date
Services Payments to Date                                      0.00           19,157.50
Expenses Payments to Date                                      0.00                 0.00
Total Payments to Date                                         0.00            19,157.50
                                    Pines Bach LLP
                                  122 West Washington Avenue
                                           Suite 900
                                      Madison, WI 53703
                                          (608) 2sl-0101
                                        Fax (608) 251-2883
                                      Tax ID No. XX-XXXXXXX


MichaelA Mills                                                         September 1,2020
8564 Forum Drive                                                      lnvoice No. 206885
Houston, TX 77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
08131120 lnterest thru 07131120                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and Expenses                 939.22

                                                Past Due Balance             $102,588.06

                                                       Amount Due            $103.527.28


lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50            '111,560.00
Expenses Billed to Date                                   8,421.94             11,124.78
Total Billed to Date                                     10,349.44            122,684.78

Payment History for this Matter
                                                              YTD           Case to Date
Services Payments to Date                                     0.00            19,157.50
Expenses Payments to Date                                     0.00                   0.00
Total Payments to Date                                        0.00             19,1 57.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 2s1-0101
                                        Fax (608) 251-2883
                                      Tax ID No. XX-XXXXXXX


MichaelA Mills                                                            October 1,2020
8564 Forum Drive                                                      lnvoice No. 207592
Houston, TX 77055



CLIENT     14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
09130120 lnterest lhru 08131120                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and Expenses                 939.22

                                                Past Due Balance             $103,527.28

                                                       Amount Due          _lLEL$65!l
lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50           111,560.00
Expenses Billed to Date                                   9,361.16            12,064.00
Total Billed to Date                                     11,288.66           123,624.00

Payment History for this Matter
                                                              YTD           Case to Date
Services Payments to Date                                     0.00            19,1 57.50
Expenses Payments to Date                                     0.00                  0.00
Total Payments to Date                                        0.00             19,157.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 2s1-0lol
                                         Fax (608) 251-2883
                                       Tax ID No. XX-XXXXXXX


MichaelA Mills                                                          November 1,2020
8564 Forum Drive                                                      lnvoice No. 208045
Houston, TX 77055



CLIENT:    14514 - MichaelA. Mills
Re:        0000 Civil Litigation - WDWI Case No 19-CV-158

                                            Expenses

Date      Expenses                                                              Amount
10131120 lnterest thru 09/30/20                                                   939.22
Total Expenses                                                                  $939.22

                                  Total for Services and Expenses               $939.22

                                                 Past Due Balance            $104,466.50

                                                       Amount Due            $105.405.72


lnvoice History for this Matter
                                                       Year to Date         Case to Date
Services Billed to Date                                   1,927.50           1 11,560.00

Expenses Billed to Date                                  10,300.38             13,003.22
Total Billed to Date                                     12,227.88           124,563.22

Payment History for this Matter
                                                               YTD          Case to Date
Services Payments to Date                                      0.00            19,157.50
Expenses Payments to Date                                      0.00                 0.00
Total Payments to Date                                         0.00            19,157.50
                                    Pines Bach LLP
                                  122 W est Washington Avenue
                                            Suite 900
                                      Madison, WI 53703
                                          (608) 2sl-0101
                                        Fax (608) 251-2883
                                      Tax ID No. XX-XXXXXXX


MichaelA Mills                                                         December 1,2020
8564 Forum Drive                                                     Invoice No. 208664
Houston,   fX77055


CLIENT      14514 - Michael A. Mills
Re:         0000 Civil Litigation - WDWI Case No 19-CV-158

                                           Expenses

Date      Expenses                                                             Amount
11130120 lnterest lhru 10131120                                                  939.22
Total Expenses                                                                 $93e.22

                                  Totalfor Services and Expenses               $939.22

                                                Past Due Balance            $105,405.72

                                                      Amount Due            $106.344.94


lnvoice History for this Matter
                                                      Year to Date         Case to Date
Services Billed to Date                                  1,927.50           111,560.00
Expenses Billed to Date                                 11,239.60             13,942.44
Total Billed to Date                                    13,167.10           125,502.44

Payment History for this Matter
                                                              YTD          Case to Date
Services Payments to Date                                     0.00           19,1 57.50
Expenses Payments to Date                                     0.00                 0.00
Total Payments to Date                                        0.00           19,157.50
                                  Pines Bach LLP
                             122 W est Washington Avenue
                                       Suite 900
                                 Madison, WI 53703
                                      (608)   2sl-0lol
                                     Fax (608) 251-2883
                                   Tax ID No. XX-XXXXXXX


MichaelA Mills                                                        January 1,2021
8564 Forum Drive                                                  lnvoice No. 209705
Houston, TX77055



CLIENT:   14514 - MichaelA. Mills
Re:       0000 Civil Litigation - WDWI Case No 19-CV-158

                                        Expenses

Date      Expenses                                                          Amount
12131120 lnterest lhru 11130120                                               939.22
Total Expenses                                                              $939.22

                              Total for Services and Expenses          ___$939.2a
                                               Past Due Balance          $106,344.94

                                                    Amount Due         _1102284.1-0.
                                  Pines Bach LLP
                              122 W est Washington Avenue
                                        Suite 900
                                  Madison, WI 53703
                                        (608) 2s l-0101
                                      Fax (608) 251-2883
                                    Tax ID No. XX-XXXXXXX


MichaelA Mills                                                      February 1,2021
8564 Forum Drive                                                 lnvoice No.210111
Houston, fX77055



CLIENT:     14514 - MichaelA. Mills
Re:         0000 Civil Litigation - WDWI Case No 19-CV-158

                                         Expenses

Date   /- Expenses                                                         Amount
01131121 lnterest lhru 12131120                                              939.22
Total Expenses                                                             $939.22

                               Total for Services and Expenses        __-$93e.?e
                                              Past Due Balance          $107,284.16

                                                    Amount Due          $108.223.38
                                  Pines Bach LLP
                             122 W est Washington Avenue
                                       Suite 900
                                 Madison, WI 53703
                                      (608) 2sl-0101
                                     Fax (608) 251-2883
                                   Tax ID No. XX-XXXXXXX


MichaelA Mills                                                        March 1,2021
8564 Forum Drive                                                lnvoice No. 210926
Houston, TX77055



CLIENT    14514 - MichaelA. Mills
Re:       0000 Civil Litigation - WDWI Case No 19-CV-158

                                        Expenses

Date      Expenses                                                        Amount
02128121 lnterest thru 01131121                                             939.22
Total Expenses                                                            $939.22

                              Total for Services and Expenses        __19!e.22
                                             Past Due Balance          $108,223.38

                                                   Amount Due          s109.162.60
                                  Pines Bach LLP
                             122 West Washington Avenue
                                      Suite 900
                                 Madison, WI 53703
                                       (608) 2sl-0101
                                     Fax (608) 2s1-2883
                                   Tax ID No. 39- 1342651


MichaelA Mills                                                         April 1 ,2021
8564 Forum Drive                                                lnvoice No.211580
Houston, TX 77055



CLIENT    14514 - MichaelA. Mills
Re:       0000 Civil Litigation - WDWI Case No 19-CV-158

                                        Expenses

Date      Expenses                                                         Amount
03131121 lnterest thru 02128121                                              939,22
Total Expenses                                                              $939.22

                              Totalfor Services and Expenses                $939.22

                                             Past Due Balance          $109,162.60

                                                   Amount Due          $1 10.101.82
